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 2
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 6   Attorney for Defendant, Sergio Reynol Padilla

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                          IN THE UNITED STATES DISTRICT COURT FOR
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11
                                                         Case No.: 06-CR-00059 AWI
     United States of America,
12
                    Plaintiff,                           ADDITION OF CO-COUNSEL
13
            vs.
14
     SERGIO REYNOL PADILLA, et. al.,
15
                  Defendant.
16
           I, Sergio Reynol Padilla, do hereby designate MICHAEL G. IDIART, Attorney at
17   Law, 1060 Fulton Mall, Suite 807, Fresno, California 93721, as my attorney, and as co-
18
     counsel to my current retained attorney, MICHAEL KARAGOZIAN.

19   DATED: 4/ 29 /2006                      /s/ Serigo Reynol Padilla
                                            SERGIO REYNOL PADILLA, Defendant
20
             I hereby agree to MICHAEL G. IDIART, as co-counsel.
21
     DATED: 4/ 29 /2006                            /s/ Michael Karagozian
22                                                 MICHAEL KARAGOZIAN, Attorney at Law
             I hereby agree to the designation as co-counsel.
23
     DATED: 4/29 /2006                         /s/ Michael G. Idiart
24                                             MICHAEL G. IDIART, Attorney at Law
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     IT IS SO ORDERED.
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28   Dated:        May 24, 2006                   /s/ Anthony W . Ishii
     0m8i78                                 UNITED STATES DISTRICT JUDGE




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